             Case 1:21-cv-05429-AS              Document 1          Filed 06/21/21     Page 1 of 34




  UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF NEW YORK
   -----------------------------------------------------------------------x
  SECURITIES AND EXCHANGE COMMISSION,                                     :
                                                                          :
                    Plaintiff,                                            :
                                                                          :
                    vs.                                                   :   Civil Action No. 21-cv-5429
                                                                          :
  OFER ABARBANEL, VICTOR CHILELLI,                                        :   ECF CASE
  INCOME COLLECTING 1-3 MONTHS
  T-BILLS MUTUAL FUND,                                                    :
                                                                          :
                    Defendants,                                           :   JURY TRIAL DEMANDED
                                                                          :
  And                                                                     :
                                                                          :
  INSTITUTIONAL SYNDICATION LLC,                                          :
  NORTH AMERICAN LIQUIDITY                                                :
           RESOURCES LLC,                                                 :
  INSTITUTIONAL SECURED CREDIT LLC,                                       :
  GROWTH INCOME HOLDINGS LLC,                                             :
  CLO MARKET NEUTRAL LLC,                                                 :
  GLOBAL EMEA HOLDINGS LLC,                                               :
                                                                          :
                    Relief Defendants.                                    :
--------------------------------------------------------------------------x


                                                  COMPLAINT

           Plaintiff Securities and Exchange Commission (the “SEC” or “Commission”), alleges as

  follows:

                                                    SUMMARY

           1.       From at least March 2018 to the present, Defendants Ofer Abarbanel

  (“Abarbanel”) and Victor Chilelli (“Chilelli”), and the Income Collecting 1-3 Months T-Bills

  Mutual Fund (the “Fund”) that they formed and which Abarbanel controls, have engaged in a

  fraudulent investment scheme to deceive and defraud investors in the Fund. During the course of

  their scheme, Abarbanel, Chilelli, and the Fund have depleted, dissipated, and misappropriated
         Case 1:21-cv-05429-AS          Document 1       Filed 06/21/21      Page 2 of 34



investor funds deposited in the Fund through a fraudulent course of conduct that includes the

creation of nominee shell companies, the diversion of funds to these shell companies in

uncollateralized loan transactions that violate the requirements of the Fund prospectus, and the

submission of false or misleading statements of material facts to investors to disguise their

misconduct.

        2.      Most recently, Abarbanel and the Fund have refused to honor the redemption

demands of their largest group of investors (“Investor Group A”) of approximately $106 million

they invested with the Fund, in violation of the Fund’s Prospectus. Instead, the Defendants have

misappropriated and dissipated Investor Group A’s assets, including on June 4, 2021, by

transferring $64 million of Investor Group A’s deposits into a brokerage account from which no

redemptions may be drawn, and from which these assets are subject to further dissipation and

misappropriation.

        3.      At all relevant times, Abarbanel has exercised control over the Fund, with the

substantial assistance of Chilelli.

        4.      Abarbanel and Chilelli also at all relevant times have exercised control over two

Limited Liability Companies (LLCs), Institutional Syndication LLC (“IS”) and North American

Liquidity Resources LLC (“NALR”) (the “Counterparties”), that they formed and used to

misappropriate Investor Group A’s assets by causing them to enter into unauthorized and

uncollateralized lending agreements with the Fund, as described herein.

        5.      Abarbanel also at all relevant times has exercised control over at least four other

LLCs that the Defendants used to receive, hold, transfer, and misappropriate investors’ assets in

furtherance of their scheme: Institutional Secured Credit LLC (“ISC”), Growth Income

Holdings LLC (“GIH”); CLO Market Neutral LLC (“CLO”) and Global EMEA Holdings LLC




                                                  2
        Case 1:21-cv-05429-AS           Document 1        Filed 06/21/21      Page 3 of 34



(“EMEA”). Together, the Counterparties and these four LLC’s (collectively, the “Relief

Defendants”), received ill-gotten proceeds of the fraudulent scheme subject to disgorgement.

       6.       The Defendants’ fraudulent scheme to misappropriate Investor Group A’s funds

involved a number of steps and fraudulent acts, including but not necessarily limited to the

following:

             a. The Fund issued a prospectus (“Prospectus”) and other documents which were

                prepared by Abarbanel, representing that the Fund would reinvest investor assets

                only in stable, secure, liquid, and easily redeemable securities falling into one of

                two categories: (i) United States Treasury securities (“Treasuries”); or (ii) certain

                types of defined loan agreements known as repurchase agreements or reverse

                repurchase agreements (collectively, “Reverse Repos”) that the Fund would enter

                into in with established, well-funded, independent institutions such as banks and

                insurance companies, in arms-length loan transactions. The Reverse Repos were

                required to be collateralized by Treasuries or other specific types of secure

                collateral. The fact that these loan agreements were to be secured and

                collateralized by Treasuries or other specified secure collateral was a critical

                representation to Investor Group A, as it provided stability and security similar to

                owning Treasuries themselves.

             b. From March 2019 through February 2021, Investor Group A made a series of

                large deposits into the Fund’s custodian, a United States bank account (the “Fund

                Bank Account”), on the basis of the representations in the Prospectus and other

                documents, such as fact sheets issued by the Fund.




                                                  3
Case 1:21-cv-05429-AS          Document 1       Filed 06/21/21      Page 4 of 34



  c. As soon as Investor Group A deposited their funds into the Fund Bank Account,

       Abarbanel, Chilelli, and the Fund would immediately enter into purported loan

       transactions with the Counterparties that Abarbanel and Chilelli controlled, IS and

       NALR. These loan transactions were not collateralized as required, and were in

       no way equivalent to the type of secured collateralized Reverse Repos promised

       and authorized in the Prospectus. Importantly, IS and NALR did not transfer any

       collateral (let alone the highly secure Treasuries or other collateral promised and

       required by the Prospectus) to the Fund as part of these loan transactions, which

       was in direct violation of the requirements set forth in the Prospectus.

  d. Abarbanel and the Fund then directed and caused the transfer of Investor Group

       A’s funds from the Fund Bank Account to bank accounts that they formed in the

       name of IS and NALR.

  e.   Abarbanel and Chilelli then directed and caused the transfer of the funds from IS

       and NALR bank accounts to brokerage firm accounts in the name of IS and

       NALR.

  f. From there, Abarbanel and Chilelli misused Investor Group A’s funds in violation

       of the terms of the Prospectus, in ways that benefitted Abarbanel, Chilelli, IS and

       NALR, but not the Fund or Investor Group A. For example, Abarbanel and

       Chilelli caused IS and NALR to purchase securities in their own accounts, often

       on margin, transferred funds to other accounts (including those of Relief

       Defendants), and opened up new accounts from which they made other

       investments benefitting themselves, but not the Fund or Fund investors.




                                         4
        Case 1:21-cv-05429-AS           Document 1       Filed 06/21/21       Page 5 of 34



       7.      Throughout the course of their scheme, in addition to the Prospectus, Abarbanel

and the Fund prepared and provided to Investor Group A regular documentation including fact

sheets. Through the Prospectus and these other documents, Abarbanel and the Fund knowingly

or recklessly made misrepresentations and misleading omissions of material facts with respect to

the investments made by the Fund, the absence of required collateral for Fund investments, the

conditions for redemption of shares in the Fund, and the basis for the Fund’s purported return on

investments.

       8.      By engaging in the described conduct, Abarbanel, Chilelli, and the Fund have

violated, and unless restrained and enjoined will continue to violate, the antifraud provisions of

the Securities Act of 1933 (“Securities Act”) [15 U.S.C. § 77 et seq.] and the Securities

Exchange Act of 1934 (“Exchange Act”) [15 U.S.C. § 78 et seq.] and rules thereunder.

                   NATURE OF PROCEEDING AND RELIEF SOUGHT

       9.      The Commission brings this action against Defendants pursuant to Section 20(d)

of the Securities Act [15 U.S.C. § 77t(d)] and Section 21(d) of the Exchange Act [15 U.S.C. §

78u(d)] to seek an order enjoining the transactions, acts, practices, and courses of business

alleged in this Complaint, disgorgement of ill-gotten gains, civil penalties, and such further relief

that the Court may deem appropriate.

                                 JURISDICTION AND VENUE

       10.     This Court has jurisdiction over this action pursuant to Sections 20(b), 20(d) and

22(a) of the Securities Act [15 U.S.C. §§ 77t(b),77t(d) and 77v(a)] and Sections 21(d), 21(e), and

27 of the Exchange Act [15 U.S.C. §§ 78u(d), 78u(e), and 78aa].

       11.     Venue in this District is proper pursuant to Section 22(a) of the Securities Act [15

U.S.C. § 77v(a)] and Section 27 of the Exchange Act [15 U.S.C. § 78aa]. Defendants transact




                                                  5
        Case 1:21-cv-05429-AS           Document 1        Filed 06/21/21       Page 6 of 34



business in this District, and certain of the acts, practices, transactions, and courses of business

constituting the violations alleged in this Complaint occurred within this District, and were

effected, directly or indirectly, by making use of the means, instruments, or instrumentalities of

transportation or communication in interstate commerce, or of the mails, or the facilities of

national securities exchanges.

                                          DEFENDANTS

       12.     Ofer Abarbanel, age 46, is a citizen of Israel and has resided in Woodland Hills,

California since at least 2016. He carries an Israeli passport. From at least October 2014 to the

present, Abarbanel was the owner and sole control person for an investment adviser that was

registered with the Commission from approximately January 2015 to March 2019. At all

relevant times, Abarbanel, with the knowing and substantial assistance and participation of

Chilelli, has exercised full control over the Fund, its investments and operations, and its dealings

with investors, from his residence in California. For example, Abarbanel approved investors’

subscriptions into the Fund while in California, or otherwise within the United States. Abarbanel

also controls the Relief Defendants. With and through Chilelli, Abarbanel also controls the

Counterparties, IS and NALR. Abarbanel is the named manager of ISC. He controls bank

accounts in at least Israel and Singapore, and likely the Cayman Islands and the Bahamas, in his

name and in the names of the Fund and Relief Defendants ISC, T-Bill Securities, CLO, and

EMEA.

       13.     Victor Chilelli, age 51, is a United States citizen residing in Lewes, Delaware.

Until 2020 he resided in Staten Island, New York. Until November 2016, Chilelli was Portfolio

Manager for the investment advisor of the Fund, located in Nevada. Until October 2017, Chilelli

was Deputy Compliance Officer for a U.S.-registered mutual fund controlled by Abarbanel.




                                                   6
          Case 1:21-cv-05429-AS       Document 1       Filed 06/21/21      Page 7 of 34



From December 2017 through the present, Chilelli was the founder and sole owner of

Counterparties IS and NALR, and is the named manager of GIH. Chilelli and Abarbanel

controlled IS and NALR. At relevant times, Chilelli provided substantial assistance to

Abarbanel and the Fund in their design and execution of the fraudulent scheme. For example,

Chilelli, along with Abarbanel, directed and controlled the component of the scheme involving

the unauthorized transfer of Fund assets to the Counterparties. With respect to Investor Group

A, as outlined further herein, Chilelli founded IS and NALR, set up their bank and brokerage

accounts, improperly transferred Investor Group A’s invested funds, , and made unauthorized

investments benefitting himself and Abarbanel, not the Fund or Investor Group A, using Investor

Group A’s misappropriated funds.

       14.     Income Collecting 1-3 Months T-Bills Mutual Fund (the “Fund”) is a mutual

fund registered in the Cayman Islands (registration number CR-319456), which consists of

multiple share classes listed on the Nasdaq market headquartered in New York City, and using

Nasdaq symbols including “BILLX,” “GOVAX,” “GOVBX,” “GOVDX,” “GOVTX,” and

“USABX.” As of May 21, 2021, all share classes in the Fund other than GOVBX have been

redeemed. The Fund is not registered with the Commission, and has or had directors on its

Board of Trustees located in New York, Florida, and the Cayman Islands. The Fund’s custodian,

the Fund Bank Account, is located in San Francisco, its brokerage account is located in New

York City, its nominal investment advisor is located in Nevada and/or the Bahamas, and its

administrator is located in Ohio. The registered investment advisor for Investor Group A is

located in Utah, and Abarbanel, Chilelli, and other Fund representatives had regular

communications with this investment advisor during the course of and in furtherance of the

scheme.




                                                7
        Case 1:21-cv-05429-AS          Document 1       Filed 06/21/21     Page 8 of 34




                                   RELIEF DEFENDANTS

       15.     As alleged herein, the Relief Defendants received investor funds and/or ill-gotten

proceeds of the fraudulent scheme alleged herein, subject to disgorgement, for which they gave

no bona fide consideration and to which they have no legitimate claim.

       16.     Institutional Syndication LLC (IS) is a New Jersey limited liability company,

which Chilelli formed on October 31, 2017, domiciled and headquartered in New

Jersey. Chilelli is the managing member and Authorized Representative of IS. IS is a shell

company, controlled by Abarbanel and Chilelli, that they and the Fund used to enter into

unsecured uncollateralized lending transactions with the Fund, in furtherance of their scheme.

From March 2019 through November 2020, Abarbanel and the Fund transferred approximately

$2,030,000 of the funds invested by Investor Group A into IS accounts, and IS had no legitimate

claim to those funds. Abarbanel and Chilelli further diverted and misappropriated the funds that

they deposited in IS accounts.

       17.     North American Liquidity Resources LLC (NALR) is a Nevada limited

liability company, formed by Chilelli on October 17, 2017, domiciled and alleged herein. NALR

is a shell company, controlled by Abarbanel and Chilelli, which Defendants used to enter into

unsecured uncollateralized lending transactions with the Fund, in furtherance of their scheme.

From March 2019 through November 2020, Abarbanel and the Fund transferred approximately

$102,000,000 of the funds invested by Investor Group A into NARL accounts. NALR had no

legitimate claim to those funds. Abarbanel and Chilelli further diverted and misappropriated the

funds that they deposited in NALR accounts.

       18.     Institutional Secured Credit LLC (ISC) is a Nevada limited liability company




                                                8
        Case 1:21-cv-05429-AS          Document 1       Filed 06/21/21      Page 9 of 34



domiciled and headquartered in Nevada. Abarbanel owns and controls ISC. At relevant times

Abarbanel and Chilelli used ISC to hold and transfer proceeds of the fraudulent scheme,

including Investor Group A’s funds. From at least May 2019 through April 2021, Abarbanel,

Chilleli, and the Fund transferred at least $627,000 worth of Fund assets into ISC accounts, a

significant portion of which represented funds deposited by Investor Group A. ISC had no

legitimate claim to those funds.

       19.     Growth Income Holdings LLC (GIH) is a Nevada limited liability company

domiciled and headquartered in Nevada. Chilelli is the sole owner of GIH. At relevant times,

Abarbanel and Chilelli used GIH to hold and transfer proceeds of the fraudulent scheme,

including Investor Group A’s funds. From at least April 2019 through January 2021, Abarbanel,

and Chilleli transferred at least $9.4 million worth of Fund assets into GIH accounts, a

substantial portion of which represented funds deposited by Investor Group A. GIH had no

legitimate claim to those funds.

       20.     CLO Market Neutral LLC (CLO) is a Nevada limited liability company

domiciled and purportedly headquartered in Nevada. Abarbanel controls CLO. At relevant

times, Abarbanel and Chilelli used CLO to hold and transfer proceeds of the fraudulent scheme,

including Investor Group A’s funds. From at least May 2019 through May 2021, Abarbanel and

Chilleli transferred at least $700,000 worth of Fund assets into CLO accounts, a significant

portion of which represented funds deposited by Investor Group A. CLO had no legitimate

claim to those funds.

       21.     Global EMEA Holdings LLC (EMEA) is a Nevada limited liability company

domiciled and purportedly headquartered in Nevada. At all relevant times Abarbanel owned and

controlled EMEA, directly or indirectly. From at least October 15, 2019 through August 18,




                                                 9
       Case 1:21-cv-05429-AS          Document 1        Filed 06/21/21      Page 10 of 34



2020, Abarbanel and Chilelli transferred at least $1.4 million of Fund assets into EMEA

accounts, a significant portion of which represented funds invested by Investor Group A. EMEA

had no legitimate claim to those funds.

                                 FACTUAL ALLEGATIONS

Overview of Abarbanel’s and Chilelli’s Establishment of the Fund and Control of Its
Operations

       22.     In or around March 2018, Abarbanel and Chilelli took steps to register the Fund

in the Cayman Islands by renaming an exempted company previously incorporated under the

name “US Bonds Mutual Fund.”

       23.     Abarbanel and Chilelli arranged for friends (including a friend’s wife) and

nominee personnel in the Bahamas and British Virgin Islands to serve as directors of the Fund,

leaving Abarbanel and Chilelli free to control the activities of the Fund without meaningful

hindrance or oversight.

       24.     Abarbanel at all relevant times has controlled all aspects of the Fund. A March

2020 letter signed by the fund’s Director and Chairman describes a motion by the Fund’s Board

“authorizing Mr. Ofer Abarbanel to represent the fund in all matters and that Interactive Brokers

LLC is allowed to disclos[e] all fund information to Mr. Ofer Abarbanel.”

       25.     Chilelli at all relevant times has provided substantial assistance to Abarbanel with

respect to the scheme described herein, and in particular he has controlled and directed the part

of the Defendants’ investment scheme that involves the transfer of Fund assets to the

Counterparties. In particular, Chilelli, together with Abarbanel, directed and controlled the

misappropriation of Investor Group A’s Funds, as described herein, by (i) organizing and

implementing the unauthorized, unsecured, and uncollateralized lending agreements entered into

by the Fund and the Counterparties; and (ii) effecting the unauthorized transfers of Investor



                                                10
        Case 1:21-cv-05429-AS          Document 1        Filed 06/21/21       Page 11 of 34



Group A’s assets into the Counterparties’ accounts, and beyond.

Abarbanel and the Fund Made Misrepresentations and Misleading Omissions of Material
Facts in the Fund Prospectus

       26.      In or about January 2019, Abarbanel created the Prospectus on behalf of the Fund,

and issued and/or made it available to Fund investors on the Fund’s website

(www.govbxfund.com), where Investor Group A accessed and reviewed it. From February 2019

through at least August 2020, on at least 9 occasions (including February, March, April, May,

June, and July of 2019, and April, July, and August of 2020) Abarbanel and the Fund issued

updates to the Prospectus that contained minor modifications, and posted the Prospectus on the

Fund website.

       27.      The Prospectus described the Fund’s structure, investment strategy, investments,

anticipated returns, and the methods for purchasing and redeeming shares. It described the

Fund’s investment objective as “seek[ing] current income consistent with preservation of capital

and daily liquidity.” As Abarbanel and the Fund knew or were reckless in not knowing as

outlined further herein, that representation was a false and misleading statement of material fact.

The Defendants’ transfer of funds to the Counterparties in uncollateralized, unsecured lending

transactions was not consistent with the preservation of capital or daily liquidity.

       28.      The Prospectus represented that the Fund would invest primarily in Treasuries

with remaining maturities of one to three months. In the description of the Fund’s “Principal

Investment Strategies,” the Prospectus disclosed, in relevant part, that “the Fund invests its net

assets primarily (exclusive of collateral with respect to securities lending and reverse repurchase

agreement transactions) in U.S. Treasury securities, which include bills, notes, and bonds issued

by the U.S. Treasury.” As Abarbanel and the Fund knew, or were reckless in not knowing, that

representation was a false and misleading statement of material fact. The Fund did not invest



                                                 11
        Case 1:21-cv-05429-AS          Document 1           Filed 06/21/21   Page 12 of 34



primarily in Treasuries. In fact, as reported in an end of 2019 Fund report, the Fund only

invested in approximately 1% worth of Treasuries.

       29.     The Prospectus also stated that the Fund may enter into Reverse Repos. As stated

in the Prospectus: “In order to enhance income, the Fund intends to enter into securities lending,

repurchase agreements and/or reverse repurchase agreement transactions that provide the Fund

with income at either fixed or floating (variable) interest rates and fees.” As Abarbanel and the

Fund knew, or were reckless in not knowing, that representation was a false and misleading

statement of material fact. The Fund did not inter into Reverse Repos with the Counterparties

that provided income at fixed or floating interest rates.

       30.     The Prospectus further stated that the Fund “may enter into repurchase

agreements and/or reverse repurchase agreements with counterparties such as: broker/dealers,

institutional investors, institutional investment manager(s), banks, mutual funds, and insurance

and/or reinsurance companies.”

       31.     As Abarbanel and the Fund knew, or were reckless in not knowing, that statement

was a false and misleading statement of material fact. All of the Counterparties to the supposed

Reverse Repos that the Fund entered into on behalf of Investor Group A were not independent,

well-funded, established institutions such as those listed, but instead, were single-member shell

LLCs, formed and/or controlled by Abarbanel and Chilelli, with no apparent assets, operations,

or business purpose other than to facilitate the unauthorized investment, transfer and

misappropriation of investor funds.

       32.     The Prospectus further represented that “Reverse repurchase transactions involve

the sale of securities with an agreement to repurchase the securities at an agreed upon price, date

and interest payment,” and that the “proceeds (collateral) secured to the Fund with respect to




                                                 12
        Case 1:21-cv-05429-AS          Document 1       Filed 06/21/21      Page 13 of 34



reverse repurchase agreements will include either (1) 100% units of mutual fund symbols:

STATX or of this Fund or (2) 102%-115% U.S. Treasury securities.”

       33.     As Abarbanel and the Fund knew, or were reckless in not knowing, that statement

was a false and misleading statement of material fact because, in practice, the purported Reverse

Repos with the Counterparties involved neither the lending nor sale of securities with an

agreement to repurchase the securities at an agreed upon price, date and interest payment, nor

collateral in the form of mutual fund shares or Treasuries.

       34.     Rather, as directed by Abarbanel and Chilelli, between March 2019 and February

2021, each transaction involved the Fund sending Investor Group A’s investment funds to one of

the Counterparties, and in return, the Fund and the applicable Counterparty executed a

boilerplate “Master Securities Loan Agreement,” and the Fund sent a hard copy of the Master

Securities Loan Agreement to the Fund’s custodian. This did not satisfy the Prospectus’s

requirement to supply collateral in the Form of Treasuries or the other specified collateral.

       35.     In short, as Abarbanel and the Fund knew, or were reckless in not knowing, the

representations in the Prospectus were false and misleading statements of material facts because:

(a) the Master Securities Loan Agreement was not a repurchase agreement or reverse purchase

agreement as described in the Prospectus, or as a reasonable investor would find, (b) the

Prospectus and other documents issued by Abarbanel and the Fund did not correctly describe the

actual related-party transactions that Defendants caused to be transpired between the Fund and

the Counterparties -- in that the Fund neither bought nor sold securities with an agreement to

repurchase the securities at an agreed upon price, date, and interest payment; and the Fund never

received collateral in the form of the specified mutual fund symbols or Treasuries. In addition,

the Counterparties were single-member shell LLCs with no significant assets or business




                                                 13
        Case 1:21-cv-05429-AS           Document 1       Filed 06/21/21      Page 14 of 34



operations, not “broker/dealers, institutional investors, institutional investment manager(s),

banks, mutual funds, and insurance and/or reinsurance companies.”

Abarbanel and the Fund Made Misrepresentations and Misleading Omissions of Material
Facts in Fund Fact Sheets

       36.     In addition to the Prospectus, Abarbanel also prepared a “fact sheet” for the Fund

that he and the Fund issued and updated on a monthly basis throughout 2019 (March-December),

2020 (January-December), and early 2021 (January, February), and posted to the Fund’s website,

along with the Prospectus.

       37.     The fact sheet included misrepresentations and misleading omissions of material

facts similar to those in the Prospectus concerning the Fund’s investment strategy and holdings.

According to the fact sheet, the Fund “seeks to provide current income consistent with

preservation of capital and daily liquidity.”

       38.     The fact sheet stated that the Fund’s “major holdings are 3 Month US Treasuries,”

and that “to increase income, the fund is permitted to enter into fixed/variable interest rate

securities lending, Repurchase & Reverse Repurchase agreements with banks, broker/dealers,

institutional investors, institutional investment manager(s), mutual funds, insurance and/or

reinsurance companies.”

       39.     The fact sheet additionally described the Fund’s repo and lending transactions as

follows (emphasis in original):

                Repurchase and Reverse Repurchase transactions – those are transactions
                in which the fund purchases securities as either lender or borrower with
                the agreement to sell them at a higher price at a specific future date.

                Securities Lending transactions – Securities Lending transactions allow a
                Fund to retain ownership of the securities loaned and, at the same time,
                earn additional income from fees paid by borrowers.

       40.     As updated throughout 2019, 2020, and early 2021, the fact sheet variously



                                                 14
        Case 1:21-cv-05429-AS            Document 1        Filed 06/21/21   Page 15 of 34



described collateral received by the Fund as consisting of mutual fund shares, “102%–115%”

Treasury securities, and “100% Cash.” The fact sheet consistently emphasized that the Fund’s

collateral was “marked to market daily” to “ensure[] that the fund will always have excess

collateral (over-collateralization) to secure its activity.”

        41.     As Abarbanel and the Fund knew, or were reckless in not knowing, these

statements in the fact sheet were false and misleading statements of material facts. For example,

as with the misrepresentations and misleading omissions of material facts in the Prospectus and

as detailed above, the Fund’s “major holdings” were not in Treasuries, the Fund did not enter

into any arms-length secured or collateralized Reverse Repos with independent third parties, as

represented, the Fund did not receive collateral consisting of mutual fund shares, “102%–115%”

Treasury securities, or “100% Cash,” and the Fund did not have “excess collateral” to secure its

lending activity.

Abarbanel, Chilelli, and the Fund Used the Counterparties to Misappropriate Investor
Group A’s Assets

        42.     Investor Group A was the Fund’s Largest Investor. From March 2019 through

February 2021, Investor Group A invested approximately $191 million in the Fund, by

depositing those funds into the Fund Bank Account. As of June 2021, following its prior

redemptions of approximately $85 million, Investor Group A had approximately $106 million

remaining on deposit with the Fund.

        43.     The Defendants never invested Investor Group A’s funds as promised and

represented by the Fund and Abarbanel, as detailed above. Instead, Abarbanel and Chilelli

immediately transferred at least $104 million worth of Investor Group A’s deposits to

Counterparties IS and NALR, controlled by Abarbanel and Chilelli, in exchange for an

unsecured and uncollateralized loan agreement (the Master Securities Loan Agreement) executed



                                                   15
            Case 1:21-cv-05429-AS       Document 1       Filed 06/21/21      Page 16 of 34



by IS and NALR. The IS and NALR Master Securities Loan Agreement transactions in no way

supplied the Fund (and Investment Group A) with the sort of secure, collateralized investments

promised by the Prospectus.

        44.      The Counterparties, at Abarbanel’s and Chilelli’s direction, then transferred or

used the investor funds for their own benefit. Between March 2019 and February 2021,

Abarbanel and Chilelli used Investor Group A’s assets transferred from the Fund to establish

brokerage accounts in the name of the Counterparties. They then repeatedly on numerous

occasions used Investor Group A’s funds to engage in various transactions for their own benefit,

and not for the benefit of the Fund or the Fund’s investors, as explained below.

        45.      For example, during the time period referred to above, Abarbanel and Chilelli

purchased securities in the Counterparties’ brokerage accounts, often on margin. They also

transferred funds in these accounts to different bank and brokerage accounts that they also

controlled, in the name of other entities, including the Relief Defendants. In these other

accounts, the Counterparties, again acting under the direction and control of Abarbanel and

Chilelli, would repeat the process, purchasing additional securities and other investments.

        46.      The following are examples of violative transactions involving the

misappropriation of Investor Group A’s assets, as directed and controlled by Abarbanel and

Chilelli:

                 a.     On March 5, 2019, Investor Group A wired $20,500,000 into the Fund

        Bank Account. On that same day, Abarbanel directed and caused the Fund to transfer

        $20,500,000 to NALR’s bank account. On or about that same day, Abarbanel and

        Chilelli directed and caused NALR to execute a loan agreement with the Fund (the

        Master Loan Servicing Agreement), but did not return any Treasuries or any other form




                                                  16
Case 1:21-cv-05429-AS          Document 1       Filed 06/21/21      Page 17 of 34



of the required collateral to the Fund. On that same day, Abarbanel and Chilelli directed

and caused the transfer of $20,500,000 from NALR’s bank account to NALR’s brokerage

account. From there, Abarbanel and Chilelli directed and caused NALR to move

$20,500,000 to an affiliated NALR brokerage account and to purchase Treasury

securities in approximately that amount. Those securities were held by, and for the

benefit of NALR, Abarbanel, and Chilelli, and not for the benefit of the Fund or Investor

Group A. Thus, they were not pledged, transferred, or assigned to the Fund, and were not

collateral to the underlying unsecured loan agreement between the Fund and NALR.

       b.      On June 27, 2019, Investor Group A wired $16,000,000 into the Fund

Bank Account. On that same day, Abarbanel directed and caused the Fund to transfer

$16,000,000 to NALR’s bank account. On or about that same day, Abarbanel and

Chilelli directed and caused NALR to reexecute the Master Loan Services Agreement

with the Fund to reflect the additional amount, but did not return any Treasuries or any

other form of the required collateral to the Fund. On that same day, Abarbanel and

Chilelli directed and caused the transfer of $16,000,000 from NALR’s bank account to

NALR’s brokerage account. From there, Abarbanel and Chilelli directed and caused

NALR to move $15,998,000 to an affiliated NALR brokerage account and to purchase

Treasury securities in approximately that amount. Again, these securities were not

transferred, pledged, or assigned to the Fund for the benefit of the Fund or Investor

Group A, and were not collateral to the underlying unsecured loan agreement between the

Fund and NALR.

       c.      On September 4, 2020, Investor Group A wired $14,000,000 into the Fund

Bank Account. On that same day, Abarbanel directed and caused the Fund to transfer




                                         17
       Case 1:21-cv-05429-AS          Document 1       Filed 06/21/21      Page 18 of 34



       $14,000,000 to NALR’s bank account. On or about that same day, Abarbanel and

       Chilelli directed and caused NALR to reexecute the Master Loan Services Agreement

       with the Fund to reflect the additional amount, but did not return any Treasuries or any

       other form of the required collateral to the Fund. On that same day, Abarbanel and

       Chilelli directed and caused the transfer of $13,990,000 from NALR’s bank account to

       NALR’s brokerage account. From there, Abarbanel and Chilelli directed and caused

       NALR to move $13,990,000 to an affiliated NALR brokerage account and to purchase

       Treasury securities in approximately that amount. Again, these securities were not

       transferred, pledged, or assigned to the Fund for the benefit of the Fund or Investor

       Group A, and were not collateral to the underlying unsecured loan agreement between the

       Fund and NALR.

       47.     In the transactions detailed above, and the other transactions described herein

involving assets invested in the Fund by Investment Group A, Abarbanel, Chilelli, and the Fund,

acting knowingly or recklessly, by and through the Counterparties that Abarbanel and Chilelli

formed and controlled, misappropriated Investor Group A’s funds by (a) failing to invest funds

in Reverse Repos as required by the Prospectus, (b) failing to provide the collateral required by

the Prospectus to secure Investment Group A’s investments in the Fund; and (c) placing the

funds in the Counterparties’ own accounts and using the funds for their own benefit.

Abarbanel’s and the Fund’s Refusal and Failure to Honor Redemption
by Investor Group A

       48.     In late February 2021, when Abarbanel learned that the SEC was investigating

him and the Fund, he moved to limit the number of investors in the Fund by forcibly redeeming

all investors other than Investor Group A.

       49.     Abarbanel did not offer to permit Investor Group A to redeem any of its shares.



                                                18
        Case 1:21-cv-05429-AS          Document 1      Filed 06/21/21      Page 19 of 34



       50.     On or around May 21, 2021, a, Investor Group A requested a full redemption of

its shares in the Fund per the redemption terms in the Prospectus. At that time Investor Group A

had approximately $106 million in the Fund.

       51.     According to the terms of the Prospectus, “Fund shares are available for daily

redemption” (p. 13), “[s]hares will be redeemable at the option of the Shareholder on any

Business Day and at any amount” (p. 17), and “[a] redemption request must be received by the

Administrator at least One (1) Business Day (or such lesser period as the Directors may

generally or in any particular case permits) prior to the relevant Redemption Day” (p. 17).

       52.     Despite the fact that the Prospectus provided for “daily redemption,” and even

though Investor Group A complied with the above-stated requirements for redemption,

Abarbanel and the Fund failed to honor Investor Group A’s May 21, 2021 redemption request.

       53.      Instead, Abarbanel and the Fund obfuscated the facts and set up pretextual

obstacles and roadblocks to delay and hinder the redemption, and failed and refused to honor it,

as set forth in the following paragraphs.

       54.     On May 23, 2021, by letter emailed to Investor Group A, counsel for the Fund

and Abarbanel first responded to Investor Group A’s redemption request. In the letter, they

indicated that Investor Group A’s redemption could not be fulfilled because Investor Group A

must undergo an “omnibus review processes” [sic], which would require the Fund to appointing

a “Money Laundering Compliance officer” and “Money Laundering Reporting Officer.”

       55.     In subsequent emails, including ones sent on June 1 and 4, 2021, counsel for the

Fund and Abarbanel reiterated such requirements relating to purported anti money laundering

(AML) protocols. The Fund had not required such an “omnibus review process,” or insisted on

the appointment of money laundering officers, or other AML protocols, as part of Investor Group




                                                19
        Case 1:21-cv-05429-AS          Document 1        Filed 06/21/21         Page 20 of 34



A’s prior redemptions.

        56.    On May 27, 2021, Abarbanel and the Fund, through counsel, sent a Power Point

presentation by email to Investor Group A indicating that only a fraction of its funds were

available, and that a full redemption was not possible. They claimed that the Fund at that time

was holding approximately $88.9 million “sitting in cash” ($84 million in three financial

institutions -- a bank in Singapore, Wells Fargo, and Interactive Brokers); and $4.9 million “that

can be further transferred to the Fund from counterparty”), and an additional $25.9 million in

cash and Treasuries “that are still invested in lending agreement,” [sic] and not able to be

liquidated.

        57.    In the May 27, 2021 Power Point, and in a telephone conversation held that day in

which Abarbanel discussed the Power Point, the Fund and Abarbanel attempted to pitch Investor

Group A into a new investment vehicle set up by Abarbanel, under which Investor Group A

could redeem its shares in the Fund and immediately reinvest them with Abarbanel in a different

investment vehicle, rather than obtaining a full return of the funds in cash.

        58.    In a subsequent May 27, 2021 email, Investor Group A declined Abarbanel’s

offer and again requested a full return of its funds. Investor Group A also requested that “this

cash be secured and no further investments or expenses be undertaken from these funds pending

the redemption.” Abarbanel and the Fund did not comply with this directive.

        59.    In a later May 27, 2021 email, in response, the Fund and Abarbanel, through

counsel, stated that Investor Group A had to fill out a detailed and lengthy (18 page) “Wolfsberg

Questionnaire” in order for the Fund to fulfill a redemption of its assets.

        60.    In subsequent communications with Investor Group A, Abarbanel and the Fund

put forth additional requirements and conditions on the redemption, including demanding a “wet




                                                 20
        Case 1:21-cv-05429-AS           Document 1        Filed 06/21/21      Page 21 of 34



signature,” a listing of the net worth and identity of beneficial owners not even in Investor Group

A, and other requirements and protocols.

       61.     Later that evening, also in a May 27, 2021 email, Abarbanel and the Fund’s

counsel gave an update to Investor Group A, stating that the Singapore bank was in the process

of sending $66.9 million to the Fund Bank Account, “which currently has a 17M balance.”

       62.     Abarbanel’s and the Fund’s refusal to honor Investor Group A’s redemption

request in May 2021 stands in stark contrast to how they handled earlier redemption requests,

before Abarbanel and the Fund learned of the SEC’s investigation. For example, on or about

March 11, 2021, Investor Group A submitted a redemption request for $75,000,000 from the

Fund by simply filling out a redemption request form downloaded from the Fund website.

Investor Group A was able to obtain the March 2021 redemption from the Fund by wire transfer

in a matter of days. The Fund did not require any additional information, an 18 page

questionnaire, a “wet signature,” or any money laundering “protocols” to honor that prior

redemption.

       63.     In the May 27, 2021 Power Point, and at all other relevant times, Abarbanel and

the Fund failed to disclose to Investor Group A the critical fact that Abarbanel and Chilelli

control the Counterparties, and presumably could easily arrange to terminate any lending

agreements and to effect the return of the $26 million, if it existed. In fact, such daily liquidity

was a requirement of the Prospectus.

Abarbanel and the Fund Sought to Force Investor Group A to Accept Terms That Fell Far
Short of a Full Redemption

       64.     On or about June 1, 2021, Abarbanel and the Fund also informed Investor Group

A that, to obtain a redemption, it would need to sign a new agreement which it referred to as

“Annex B.” Under this new agreement, the Fund proposed to satisfy Investor Group A’s



                                                  21
       Case 1:21-cv-05429-AS          Document 1       Filed 06/21/21       Page 22 of 34



redemption request by merely providing Investor Group A with whatever accounts that

Counterparties NALR and IS held, together with the “future cash flow” from the Fund’s lending

agreements with the Counterparties.

       65.     These lending agreements were the Master Securities Loan Agreements that

Abarbanel and the Fund had entered into with the Counterparties rather than investing in the

properly collateralized Reverse Repos described in the Prospectus. In other words, Abarbanel

and the Fund had misused Investor Group A’s funds to obtain those Master Securities Loan

Agreements in the first place, and now were offering to give them to Investor Group A as part of

the package to satisfy Investor Group A’s redemption of its investment in the Fund. Further,

under Annex B, Investor Group A had to release all of its claims against the Fund, the

Counterparties and others. As discussed above, the Master Securities Loan Agreements were not

authorized investments, and did not reflect what the Prospectus required.

       66.     Abarbanel and the Fund maintained that the Annex B reflected a “redemption in

kind” under the terms of the Prospectus. But the terms reflected in Annex B did not reflect a

“redemption in kind” as described in the Prospectus. The Prospectus provides that the Fund

“reserves the right to honor requests for redemption or repurchase orders by making payment in

whole or in part in readily marketable securities (“redemption in kind”) if the amount is greater

than $200,000 or 1% of the Fund’s assets.” (emphasis added). The lending agreements between

the Fund and the Counterparties, which Abarbanel and the Fund attempted to require Investor

Group A to assume as part of its redemption, are not “readily marketable securities,” and are thus

not “redemptions in kind.”

       67.     Abarbanel and the Fund also asserted that they were imposing a “forced

redemption” under the Prospectus. The Prospectus permits the Fund to impose a “forced




                                               22
       Case 1:21-cv-05429-AS          Document 1          Filed 06/21/21   Page 23 of 34



redemption,” but that would involve actually redeeming the investor’s shares, and in exchange,

the investor releasing its claims. But that is not what Abarbanel and the Fund proposed to do

here. The Fund would not “redeem” Investor Group A’s shares in the Fund by offering all cash

and/or “readily marketable securities,” but instead only offered whatever happened to be left in

the Counterparties’ accounts, and whatever “income stream” might in the future flow from the

Master Securities Loan Agreements between the Fund and the Counterparties. And Abarbanel

and the Fund would only provide that insufficient package if Investor Fund A released all of its

claims against the Fund, the Counterparties and others.

       68.     In short, rather than complying with their obligation to honor Investor Group A’s

redemption request, Abarbanel and the Fund sought to coerce Investor Group A into giving up its

shares in the Fund and all claims against the Fund and others, in exchange for a package that

included the Counterparties’ accounts and the “income flow” from the same Master Securities

Loan Agreements that Abarbanel and the Fund had entered into by fraudulently using Investor

Group A’s funds in the first place.

       69.     Accordingly, Abarbanel and the Fund violated their obligations to honor

redemption requests and return investor funds, and they have unlawfully withheld such funds.

Recent Misappropriation and Dissipation of Funds by Abarbanel and the Fund

       70.     Documents obtained by the SEC in May 2021 revealed that the Counterparties’

accounts held less than $4 million, nowhere near the $26 million they claimed the Counterparties

were holding in the May 27, 2021 Power Point.

       71.     Most recently, on June 4, 2021, after receiving Investor Group A’s redemption

request, Abarbanel and the Fund initiated a transfer of more than $64 million out of the Fund

Bank Account and into the Fund’s brokerage account. From this account, the funds are subject

to unauthorized investment losses, and to further misappropriation and dissipation by


                                                23
        Case 1:21-cv-05429-AS            Document 1     Filed 06/21/21      Page 24 of 34



Defendants.

       72.      Abarbanel and the Fund transferred the $64 million without any prior notice to

Investor Group A, and despite the fact that any redemption to Investor Group A would need to be

processed and transferred from the Fund Bank Account, not the brokerage account.

       73.       Abarbanel and the Fund have provided no explanation of why they initiated and

executed this unauthorized transfer of Investor Group A’s funds during the pendency of Investor

Group A’s claim for redemption, casting doubt on the legitimacy of such a transfer.

       74.      Accordingly, for the reasons discussed in the preceding paragraphs, Abarbanel

and the Fund have misused and misdirected Investor Group A’s investment funds, and any

remaining funds are subject to further misappropriation or dissipation.

The Relief Defendants Received Ill-Gotten Gains

       75.      At relevant times, Abarbanel and Chilelli diverted Fund assets, including assets

invested by Investor Group A, into accounts that they opened and controlled in the name of the

Relief Defendants, IS, NALR, GIH, CLO, ISC and EMEA. All of these are ill-gotten gains for

which they gave no bona fide consideration and to which they have no legitimate claim, and

therefore are subject to disgorgement.

       76.      The following are non-exclusive summary charts of funds transferred into the

accounts of the Relief Defendant, all of which constitute such ill-gotten gains:

       a. From March 2019 to November 2020, Defendants transferred approximately

             $102,500,000 (net) of Investor Group A’s funds into NALR accounts, and at least

             $2,030,000 into IS accounts, pursuant to the purported lending agreements described

             herein. The below table indicates Investor Group A’s subscriptions (funds deposited)

             into the Fund Bank Account, and the immediate transfer of these assets into NALR

             and IS accounts:


                                                24
      Case 1:21-cv-05429-AS           Document 1       Filed 06/21/21   Page 25 of 34




Investment/       Amount Deposited        Counterparty Counterparty Amount Wired to
Redemption        in Fund Bank                         Wire Date    Counterparty
Date              Account                                           Accounts
3/5/2019          $     20,500,000.00     NALR         3/5/2019     $   (20,500,000.00)
3/15/2019         $       3,000,000.00    NALR           3/15/2019       $       (3,000,000.00)
3/21/2019         $       8,000,000.00    NALR           3/21/2019       $       (8,000,000.00)
4/24/2019         $      (1,000,000.00)   NALR           4/24/2019       $       1,000,000.00
5/10/2019         $      2,000,000.00     NALR           5/10/2019       $       (2,000,000.00)
6/27/2019         $     16,000,000.00     NALR           6/27/2019       $      (16,000,000.00)
8/7/2019          $       7,500,000.00    NALR           8/7/2019        $       (7,500,000.00)
10/2/2019         $       2,500,000.00    NALR           10/2/2019       $       (2,500,000.00)
1/2/2020          $       5,000,000.00    NALR           1/2/2020        $       (5,100,000.00)
1/22/2020         $     (4,000,000.00)    NALR           1/22/2020       $       4,000,000.00
1/28/2020         $     (2,500,000.00)    NALR           1/28/2020       $       2,500,000.00
2/14/2020         $       3,500,000.00    NALR           2/14/2020       $       (3,500,000.00)
3/13/2020         $       9,000,000.00    NALR           3/13/2020       $       (9,000,000.00)
4/27/2020         $       5,000,000.00    NALR           4/27/2020       $       (5,000,000.00)
5/22/2020         $       2,030,000.00    IS             5/22/2020       $       (2,030,000.00)
7/27/2020         $       2,000,000.00    NALR           7/27/2020       $       (2,000,000.00)
8/12/2020         $       6,500,000.00    NALR           8/12/2020       $       (6,500,000.00)
8/18/2020         $      7,500,000.00     NALR           8/18/2020       $       (7,500,000.00)
9/4/2020          $     14,000,000.00     NALR           9/4/2020        $      (14,000,000.00)
11/17/2020        $     (2,000,000.00)    NALR           11/17/2020      $       2,000,000.00


      b. From at least April 2019 through January 2021, Abarbanel and Chilelli transferred

            approximately $9.4 million from NALR accounts into accounts in the name of GIH,

            by way of the following transfers:

       Date                   From               To             Amount
       4/1/2019               NALR               GIH            $500,000.00
       5/15/2019              NALR               GIH            $15,000.00
       6/24/2019              NALR               GIH            $225,000.00
       8/8/2019               NALR               GIH            $6,000,000.00
       1/28/2020              NALR               GIH            $13,500.00



                                                 25
Case 1:21-cv-05429-AS       Document 1      Filed 06/21/21    Page 26 of 34




 Date               From             To               Amount
 2/26/2020          NALR             GIH              $10,100.00
 3/16/2020          NALR             GIH              $1,500,000.00
 4/1/2020           NALR             GIH              $14,500.00
 4/13/2020          NALR             GIH              $60,000.00
 4/14/2020          NALR             GIH              $50,000.00
 6/26/2020          NALR             GIH              $14,000.00
 7/21/2020          NALR             GIH              $1,000,000.00
 9/9/2020           NALR             GIH              $14,000.00
 1/4/2021           NALR             GIH              $20,100.00
                                              Total: $9,436,200.00


c. From at least May 2019 through May 2021, Abarbanel and Chilelli transferred

   approximately $700,000 into accounts held by CLO, by way of the following

   transfers from Fund accounts:

 Date               From             To               Amount
 5/10/2019          Fund             CLO              $12,000.00
 7/5/2019           Fund             CLO              $16,892.48
 8/8/2019           Fund             CLO              $15,346.14
 9/5/2019           Fund             CLO              $17,224.22
 9/26/2019          Fund             CLO              $1,000.00
 10/1/2019          Fund             CLO              $13,013.61
 10/17/2019         Fund             CLO              $1,500.00
 10/28/2019         Fund             CLO              $16,742.29
 12/3/2019          Fund             CLO              $22,196.97
 1/2/2020           Fund             CLO              $21,769.81
 1/31/2020          Fund             CLO              $22,170.85
 3/2/2020           Fund             CLO              $21,553.35
 4/1/2020           Fund             CLO              $23,956.66
 4/30/2020          Fund             CLO              $22,717.82
 6/1/2020           Fund             CLO              $25,400.50
 7/1/2020           Fund             CLO              $24,084.55
 8/4/2020           Fund             CLO              $16,616.70



                                     26
Case 1:21-cv-05429-AS        Document 1      Filed 06/21/21       Page 27 of 34




 Date                From             To               Amount
 9/1/2020            Fund             CLO              $25,480.40
 10/1/2020           Fund             CLO              $33,294.86
 11/2/2020           Fund             CLO              $36,353.88
 12/1/2020           Fund             CLO              $33,965.55
 1/4/2021            Fund             CLO              $37,475.70
 2/1/2021            Fund             CLO              $45,818.35
 2/26/2021           Fund             CLO              $45,997.56
 4/2/2021            Fund             CLO              $73,424.80
 4/30/2021           Fund             CLO              $15,000.00
 5/3/2021            Fund             CLO              $10,939.40
 5/24/2021           Fund             CLO              $48,915.26
                                               Total: $700,851.71


d. From at least May 2019 through April 2, 2021, Abarbanel and Chilelli transferred

   approximately $627,000 worth of Fund assets into accounts they opened in the name

   of ISC, by way of the following transfers from CLO accounts:

 Date                From             To               Amount
 5/23/2019           CLO              ISC              $11,740.00
 7/8/2019            CLO              ISC              $16,892.48
 8/13/2019           CLO              ISC              $22,380.00
 9/6/2019            CLO              ISC              $17,224.22
 10/10/2019          CLO              ISC              $13,500.00
 10/29/2019          CLO              ISC              $16,742.00
 11/18/2019          CLO              ISC              $2,472.50
 12/3/2019           CLO              ISC              $22,196.97
 1/8/2020            CLO              ISC              $20,077.00
 2/5/2020            CLO              ISC              $20,400.00
 3/3/2020            CLO              ISC              $21,000.00
 4/1/2020            CLO              ISC              $24,000.00
 5/1/2020            CLO              ISC              $22,000.00
 6/11/2020           CLO              ISC              $27,500.00
 7/1/2020            CLO              ISC              $23,000.00



                                      27
Case 1:21-cv-05429-AS           Document 1      Filed 06/21/21     Page 28 of 34




 Date                  From              To               Amount
 8/5/2020              CLO               ISC              $16,620.00
 9/4/2020              CLO               ISC              $25,000.00
 10/2/2020             CLO               ISC              $32,500.00
 11/2/2020             CLO               ISC              $36,000.00
 12/3/2020             CLO               ISC              $37,000.00
 1/4/2021              CLO               ISC              $38,560.00
 2/2/2021              CLO               ISC              $43,000.00
 3/1/2021              CLO               ISC              $49,000.00
 4/2/2021              CLO               ISC              $68,900.00
                                                  Total: $627,705.17


e. From at least October 15, 2019 through August 18, 2020, Abarbanel and Chilelli

      transferred approximately $1.4 million into accounts they opened in the name of

      EMEA, by way of the following transfers from ISC accounts:

 Date                  From              To               Amount
 10/15/2019            ISC               EMEA             $150,000.00
 11/19/2019            ISC               EMEA             $15,000.00
 11/20/2019            ISC               EMEA             $2,958.00
 11/20/2019            ISC               EMEA             $2,000.00
 1/6/2020              ISC               EMEA             $230,000.00
 5/8/2020              ISC               EMEA             $5,000.00
 8/18/2020             ISC               EMEA             $1,000,000.00
                                                  Total: $1,404,958.00


                              CLAIMS FOR RELIEF

                                     COUNT I

           Against Abarbanel, Chilelli, and the Fund for Violations of
                      Section 17(a) of the Securities Act
                             [15 U.S.C. § 77q(a)]

77.      The Commission realleges and incorporates by reference paragraphs 1 through




                                         28
        Case 1:21-cv-05429-AS           Document 1        Filed 06/21/21      Page 29 of 34



76.

        78.    By engaging in the acts and conduct alleged above, Abarbanel and the Fund each

directly or indirectly, in the offer or sale of securities, by use of the means or instruments of

transportation or communication in interstate commerce or by use of the mails, (a) knowingly or

recklessly employed devices, schemes, or artifices to defraud; (b) with negligence, obtained

money or property by means of untrue statements of material fact or by omitting to state material

facts necessary in order to make statements made, in the light of the circumstances under which

they were made, not misleading; and (c) with negligence, engaged in transactions, practices, or

courses of business which operated or would operate as a fraud or deceit upon the purchasers, in

violation of Sections 17(a)(1), (2) and (3) of the Securities Act [15 U.S.C. § 77q(a)(1), (2) and

(3)].

        79.    By engaging in the acts and conduct alleged above, Chilelli directly or indirectly,

in the offer or sale of securities, by use of the means or instruments of transportation or

communication in interstate commerce or by use of the mails, (a) knowingly or recklessly

employed devices, schemes, or artifices to defraud with scienter; and (b) with negligence,

engaged in transactions, practices, or courses of business which operated or would operate as a

fraud or deceit upon the purchasers, in violation of Sections 17(a)(1) and (3) of the Securities Act

[15 U.S.C. § 77q(a)(1) and (3)].

        80.    By reason of the foregoing, Defendants violated and, unless restrained and

enjoined, will continue to violate Section 17(a) of the Securities Act [15 U.S.C. § 77q(a)].

                                             COUNT II

                       Against Abarbanel, Chilelli, and the Fund for
        Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Thereunder
                         [15 U.S.C. § 78q(b), 17 C.F.R. § 240.10b-5]

        81.     The Commission realleges and incorporates by reference paragraphs 1 through


                                                  29
        Case 1:21-cv-05429-AS          Document 1        Filed 06/21/21       Page 30 of 34



80.

       82.     By engaging in the acts and conduct alleged above, Abarbanel and the Fund

directly or indirectly, in connection with the purchase or sale of securities, by the use of means or

instrumentalities of interstate commerce, or of the mails, or of a facility of a national security

exchange, knowingly or recklessly, (a) employed devices, schemes, or artifices to defraud; (b)

made untrue statements of material fact or omitted to state material facts necessary in order to

make the statements made, in light of the circumstances under which they were made, not

misleading; and (c) engaged in acts, practices, or courses of business which operated or would

operate as a fraud or deceit upon other persons, including purchasers and sellers of securities, in

violation of Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)] and subsections (a), (b) and

(c) of Rule 10b-5 thereunder [17 C.F.R. § 240.10b-5(a), (b) and (c)].

       83.     By engaging in the acts and conduct alleged above, Chilelli directly or indirectly,

in connection with the purchase or sale of securities, by the use of means or instrumentalities of

interstate commerce, or of the mails, or of a facility of a national security exchange, knowingly

or recklessly, (a) employed devices, schemes, or artifices to defraud; and (b) engaged in acts,

practices, or courses of business which operated or would operate as a fraud or deceit upon other

persons, including purchasers and sellers of securities, in violation of Section 10(b) of the

Exchange Act [15 U.S.C. § 78j(b)] and subsections (a) and (c) of Rule 10b-5 thereunder [17

C.F.R. § 240.10b-5(a) and (c)].

       84.     By reason of the foregoing, Defendants violated, and unless restrained and

enjoined will continue to violate, Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)] and

Rule 10b-5 thereunder [17 C.F.R. § 240.10b-5].




                                                  30
        Case 1:21-cv-05429-AS          Document 1       Filed 06/21/21      Page 31 of 34




                                           COUNT III

                  Against Abarbanel and Chilelli for Aiding and Abetting
                      Violations of Section 17(a) of the Securities Act

        85.    The Commission realleges and incorporates by reference paragraphs 1 through 84.

        86.    By engaging in the acts and conduct alleged above, Abarbanel, Chilelli and the

Fund violated Section 17(a) of the Securities Act [15 U.S.C. § 77q(a)].

        87.    By engaging in the acts and conduct alleged above, Abarbanel and Chilelli

knowingly or recklessly provided substantial assistance, and aided and abetted, each other and

the Fund in their violations of Section 17(a) of the Securities Act [15 U.S.C. § 77q(a)].

        88.    Accordingly, pursuant to Section 15(b) of the Securities Act [15 U.S.C. § 77o(b)],

Abarbanel and Chilelli are in violation of Section 17(a) of the Securities Act to the same extent

as each other and the Fund.

        89.    By reason of the foregoing, Abarbanel and Chilelli are liable for aiding and

abetting the aforesaid violations, and unless restrained and enjoined will continue to commit such

violations.

                                           COUNT IV

                Against Abarbanel and Chilelli for Aiding and Abetting Violations of
                       Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)]
                        and Rule 10b-5 thereunder [17 C.F.R. § 240.10b-5]

        90.    The Commission realleges and incorporates by reference paragraphs 1 through 89.

        91.    By engaging in the acts and conduct alleged above, Abarbanel, Chilelli and the

Fund violated Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)] and Rule 10b-5 thereunder

[17 C.F.R. § 240.10b-5].

        92.    By engaging in the acts and conduct alleged above, Abarbanel and Chilelli

knowingly or recklessly provided substantial assistance to, and aided and abetted, each other and



                                                31
        Case 1:21-cv-05429-AS          Document 1       Filed 06/21/21      Page 32 of 34



the Fund in their violations of Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)] and Rule

10b-5 thereunder [17 C.F.R. § 240.10b-5].

        93.    Accordingly, pursuant to Section 20(e) of the Exchange Act [15 U.S.C. § 78t(e)],

Abarbanel and Chilelli are in violation of Section 10(b) of the Exchange Act and Rule 10b-5

thereunder to the same extent as each other and the Fund.

        94.    By reason of the foregoing, Abarbanel and Chilelli are liable for aiding and

abetting the aforesaid violations, and unless restrained and enjoined will continue to commit such

violations.

                                            COUNT V

   Against Abarbanel for Control-Person Liability for Violations of Section 10(b) of the
   Exchange Act [15 U.S.C. § 78j(b)] and Rule 10b-5 thereunder [17 C.F.R. § 240.10b-5].

        95.    The Commission realleges and incorporates by reference paragraphs 1 through

94.

        96.    By engaging in the acts and conduct alleged above, the Fund, through the actions

of, and under the control of Abarbanel, violated Section 10(b) of the Exchange Act [15 U.S.C. §

78j(b)] and Rule 10b-5 thereunder [17 C.F.R. § 240.10b-5].

        97.    By reason of the conduct described above, and pursuant to Section 20(a) of the

Exchange Act [15 U.S.C. § 78t(a)], Abarbanel is liable for the Fund’s violations of Section 10(b)

of the Exchange Act and Rule 10b-5 thereunder, as set forth above, in that they exercised actual

power and control over the Fund and were culpable participants in the violations by the Fund.

        98.    Abarbanel did not act in good faith, and he induced, directly or indirectly, the acts

and conduct of the Fund that violated the federal securities laws, as alleged herein.

        By reason of the foregoing, Abarbanel is liable to the same extent as the Fund, and unless

restrained and enjoined will continue to do so.



                                                  32
        Case 1:21-cv-05429-AS           Document 1        Filed 06/21/21      Page 33 of 34




                                     PRAYER FOR RELIEF

       WHEREFORE, the Commission respectfully requests that this Court enter a judgment:

                                                  I.

       Permanently restraining and enjoining Defendants from, directly or indirectly, violating

Section 17(a) of the Securities Act [15 U.S.C. § 77q(a)], Section 10(b) of the Exchange Act [15

U.S.C. § 78j(b)] and Rule 10b-5 thereunder [17 C.F.R. § 240.10b-5];

                                                  II.

       Permanently restraining and enjoining Defendants from, directly or indirectly,

participating in the issuance, purchase, offer, or sale of any security, including, but not limited to,

through any entity owned or controlled by Defendants, provided, however, that such injunction

shall not prevent Defendants Abarbanel and Chilelli from purchasing or selling securities listed

on a national securities exchange for their own personal accounts;

                                                 III.

       Ordering Defendants and Relief Defendants to disgorge their ill-gotten gains according to

proof, plus prejudgment interest thereon;


                                                 IV.

       Ordering Defendants to pay civil penalties pursuant to Section 20(d) of the Securities Act

[15 U.S.C. § 77t(d)] and Section 21(d) of the Exchange Act [15 U.S.C. § 78u(d)]; and


                                                  V.

       Granting such other and further relief as this Court may deem just, equitable, or

necessary, including but not limited to the asset freeze, accounting, and ancillary relief requested

by the Commission.

                                         JURY DEMAND

       Plaintiff demands a trial by jury.


                                                  33
Case 1:21-cv-05429-AS   Document 1   Filed 06/21/21   Page 34 of 34
